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                          IN THE UNITED STATED BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                       BROWNSVILLE

     IN RE:                                             §
                                                        §       CASE NO: 23-10006
     JODY SEAN MCINTYRE,                                §
                                                        §
              Debtor.                                   §
                                                        §
                                                        §       CHAPTER 11

                                    NOTICE OF
                 CHIEF UNITED STATES BANKRUPTY JUDGE RODRIGUEZ
               PRESIDING FROM THE U.S. COURTHOUSE IN HOUSTON TEXAS
                                              Regarding ECF No. 7

1.   Notice is given to all parties that Chief United States Bankruptcy Judge Eduardo V. Rodriguez shall preside
     over the hearing on Motion for Relief from Stay filed by Movant, Interested Party South Padre Capital Reserve,
     LLC, ECF No. 7, currently scheduled for March 3, 2023, from the United States Bankruptcy Court, 515
     Rusk, Courtroom No. 402, Houston Texas and via gotomeeting.

2.   Pursuant to Bankruptcy General Order 2021-05 parties may either appear electronically or in person at the
     United States Bankruptcy Court at 600 E. Harrison Street, Courtroom #5, Brownsville, Texas 78520 unless
     otherwise ordered by this Court.

3.   To participate electronically, parties must follow the instructions set forth on Judge Rodriguez’s web page
     located at: https://www.txs.uscourts.gov/content/united-states-bankruptcy-judge-eduardo-v-rodriguez.
     Parties are additionally instructed to: (i) call in utilizing the dial-in-number for hearings before Chief Judge
     Rodriguez at 832-917-1510, conference room number 999276 and (ii) log on to GoToMeeting for video
     appearances and witness testimony, utilizing conference code: judgerodriguez. Parties MUST HAVE
     TWO SEPARATE DEVICES to appear by video and telephonically. One device will be used to log
     on to GoToMeeting and the other will be used to call the telephonic conference line.

4.   Parties must comply with Bankruptcy Local Rule 9013-2 and Chief Judge Rodriguez’s Court Procedures
     Section VII(b) regarding the exchange and submission of electronic exhibits.

5.   No later than February 21, 2023, Movant must serve a copy of this Order on all parties entitled to notice of
     the hearing and file a certificate of service with the Clerk’s office.

      SIGNED February 16, 2023



                                                       ________________________________
                                                               Eduardo V. Rodriguez
                                                        Chief United States Bankruptcy Judge
